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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :
v.                                   :    No.: 21-cr-246-2 (ABJ)
                                     :
                                     :
EDWARD BADALIAN (2)                  :
                                     :
                   Defendant.        :
____________________________________:

                        GOVERNMENT REVISED EXHIBIT LIST

       Pursuant to this Court’s Order on September 14, 2022 (ECF No. 122), Minute Order on

February 1, 2023, and Minute Order on February 14, 2023, the United States and defendant

Edward Badalian hereby submit the attached Government’s Revised Exhibit List and

corresponding objections.

                                                Respectfully submitted,

                                                MATTHEW M. GRAVES
                                                UNITED STATES ATTORNEY
                                                D.C. Bar No. 481052


                                         By:      /s/ Kimberly L. Paschall
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